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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



 SOMPO AMERICA INSURANCE
 COMPANY,

       Plaintiff,                                     Case No.: 3:20-cv-10734
 v.
                                                      Hon. Robert H. Cleland
 FCA US LLC and FCA ITALY S.p.A.,

       Defendants,

                     STIPULATED PROTECTIVE ORDER

      The parties, by and through their undersigned counsel, and having met and

conferred, hereby submit the following Stipulated Protective Order and state as

follows:

      A.     Each party possesses certain information and documents that contain

confidential, proprietary, or trade secret information that may be subject to discovery

in this action, but that should not be made publicly available.

      B.     The parties therefore request that the Court enter a Protective Order to

properly balance the discovery rights of the parties with their right to protect their

private, confidential, proprietary, or trade secret information.

      THEREFORE, IT IS ORDERED that the following provisions and conditions

shall govern the parties:
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      1.      This Protective Order shall control the disclosure and dissemination of

documents and information. Any party to this case or any producing non-party, shall

have the right to designate as “Confidential” and subject to this Order any information,

document, or thing, or portion of any document or thing that:

           a) contains trade secrets, competitively sensitive, research, development,

              proprietary, technical, marketing, financial, sales or other confidential

              business information;

           b) contains private or confidential personal information;

           c) contains information received in confidence from third parties; or

           d) any portion of a party’s response or producing non-party’s response that

              contains trade secret or other confidential, research, development or

              commercial      information,     or   information   otherwise   considered

              confidential under applicable law by marking the material, in a manner

              that will not interfere with its legibility.

      2.      The material will be marked “This document is subject to a Protective

Order” or by such other similar marking to identify that it is being produced pursuant

to the provisions of this Order.

      3.      In any deposition, if the deponent’s testimony is deemed confidential, a

party will notify opposing counsel in writing of the page and line numbers of the

testimony deemed confidential within 30 days of receiving the deposition transcript.


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Any testimony read from or directly referencing confidential documents is

automatically deemed to be confidential, including any confidential documents that are

used as deposition exhibits.

      4.     Any confidential information that a party or producing non-party

provides to another party may be disclosed only to that party and/or immediate

employees of that party’s trial counsel’s law firm, and other individuals legitimately

assisting in the preparation of this case for trial such as a party’s co-counsel,

consultants, and experts.

      5.     Any recipient of confidential information shall not disclose the

confidential information to any other person to whom disclosure is not authorized by

the terms of this Protective Order and shall not use such confidential information for

purposes other than preparation of this action for trial. Any recipient of confidential

information shall exercise reasonable and appropriate care with regard to the storage,

custody, and/or use of confidential information in order to ensure that its confidential

nature is maintained.

      6.     Any recipient of confidential information, by accepting its receipt, agrees

to be subject to the jurisdiction of this Court in connection with any proceeding or

hearing relating to the confidential information and/or this Protective Order, including,

but not limited to, any proceeding relating to the enforcement of this Protective Order.




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      7.       Any recipient of confidential information, prior to its receipt, shall be

furnished with a copy of this Protective Order, and shall execute the acknowledgment

letter attached as Exhibit A, certifying that the recipient will not disclose confidential

information to any person to whom disclosure is not authorized by the terms of this

Protective Order, that the recipient will not use any confidential information in any

way whatsoever other than for purposes of this action, and that the recipient has read

this Protective Order and agrees to be bound by its terms. The original of each

acknowledgement letter shall be maintained by counsel for that party and furnished to

counsel for the producing party upon the conclusion of this litigation.

      8.       There shall be no reproduction or copying of confidential information

except for those people authorized to receive information pursuant to this Protective

Order after execution of the acknowledgement letter.

      9.       Any confidential information required to be filed with the Court shall be

marked “Confidential” and filed under seal under applicable court rules, with the Clerk

of the Court and shall be available for inspection only by the Court and by persons

authorized by this Protective Order to receive such confidential information. Such

documents or information shall be filed only in sealed envelopes, on which shall be

endorsed the caption of this action, an indication of the contents, and the following

designation:




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                                   CONFIDENTIAL

             This envelope contains documents that are subject to a
             Protective Order entered by the Court in this action
             governing use of confidential discovery material. The
             envelope shall not be opened or the contents thereof
             displayed or revealed except by order of the Court.
             Violation hereof may be regarded as contempt of Court.

      10.    Information designated as “Confidential” may be referred to by a party in

notices, motions, briefs, or any other pleadings, may be used in depositions, and may

be marked as deposition exhibits in this action. No such information shall be used,

however, for any of these purposes unless it, or the portion where it is revealed, is

appropriately marked and protected from dissemination and, where filing is necessary,

separately filed under seal with the Court.

      11.    If, at the time of trial, a party intends to introduce into evidence any

information designated as Confidential, that party shall give timely notice of such

intention to the Court and counsel for the producing party may take such steps as it

shall deem reasonably necessary to preserve the confidentiality of such

information. Subject to the rules of the Court, timely notice with respect to confidential

information intended to be used on cross-examination of a witness shall not be required

until after direct examination of that witness is complete. The party claiming

information is confidential shall have the burden of proving that confidentiality

      12.    After the conclusion of this action, this Protective Order shall continue to

apply to all confidential information provided by a party or producing non-party and

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the Court shall retain jurisdiction over all recipients of such confidential information

for purposes of enforcing the provisions of this Protective Order.

         13.   Upon the termination of this lawsuit, by judgment, settlement or

otherwise, counsel will retrieve all confidential information, including all photocopies,

duplicates, abstracts or reproductions of such materials, from any experts or

consultants to whom such confidential information has been provided. This Protective

Order shall continue to apply to all confidential information produced by the parties.

Counsel may retain the confidential information produced pursuant to this Protective

Order as well as any copies, prints, summaries, and other reproductions or derivations

of such confidential information, for use as permitted in Paragraphs 4 of this Protective

Order.

         14.   The terms of this Protective Order do not preclude FCA US from

providing confidential and/or protected information and documents to the National

Highway Traffic Safety Administration (“NHTSA”), either voluntarily or in

connection with FCA US’s obligations under the National Traffic and Motor Vehicle

Safety Act of 1966 (“Safety Act”), 49 U.S.C. § 30101, et seq.

         15.   In the event that a party disagrees with the producing party’s designation

of any item as Confidential and subject to this Protective Order, the party shall send a

written notice to the producing party specifying the items in question. In the event that

the parties cannot reach an agreement concerning the confidentiality of the item, the


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party opposing continued confidentiality shall proceed to file a motion with this Court

seeking a determination whether the items are properly subject to this Protective Order.

Any such items shall continue to be treated as confidential and subject to this Protective

Order until such time as this Court rules that the items are not entitled to confidential

treatment.

      16.    While the receiving party, while following the requirements in this

Protective Order, may disclose to the individuals listed in Paragraph 4 the confidential

information it has received, neither plaintiff(s) nor defendant(s) or their respective

counsel, experts, or other persons retained by them to assist in the preparation of this

action shall under any circumstances, sell, offer for sale, advertise, or publicize the

contents of confidential information.



DATED: November 3, 2021



      SO ORDERED.

                                  s/Robert H. Cleland

                                  Hon. Robert H. Cleland




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Stipulated as to form and substance:

de LUCA LEVINE LLC                          DYKEMA GOSSETT PLLC


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   Attorneys for Plaintiffs




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                                     Exhibit “A”
                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

SOMPO AMERICA INSURANCE
COMPANY,

         Plaintiff,                                   Case No.: 3:20-cv-10734
v.
                                                      Hon. Robert H. Cleland
FCA US LLC and FCA ITALY S.p.A.,

         Defendants,

      AGREEMENT CONCERNING INFORMATION COVERED BY
              STIPULATED PROTECTIVE ORDER

      I,_____________________, hereby acknowledge that I have received a copy

of the Stipulated Protective Order entered in the above-captioned action (the

“Protective Order”). I understand the terms of the Protective Order and agree to

comply with and to be bound by such terms, including as to the confidentiality of

and return of certain documents. I hereby submit myself to the jurisdiction of the

United States District Court for the Eastern District of Michigan for resolution of any

matters pertaining to the Protective Order.

My address is


Dated:

Signed:


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